
The People of the State of New York, Respondent,
againstRuben Marquez-Delacruz, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Patsy Gouldborne, J.), rendered February 28, 2017, convicting him, upon a plea of guilty, of driving while intoxicated, and imposing sentence.




Per Curiam.
Judgment of conviction (Patsy Gouldborne, J.), rendered February 28, 2017, affirmed. 
Defendant's challenges to his plea are unpreserved, and they do not come within the narrow exception to the preservation requirement (see People v Conceicao, 26 NY3d 375, 382 [2015]). We decline to review these claims in the interest of justice. As an alternative holding, we find that the record as a whole establishes that the plea was knowingly, intelligently and voluntarily made, and there was nothing in the record to suggest that defendant's ability to make a voluntary decision to plead guilty was impaired in any way by his use of alcohol or drugs (see People v Rodriguez, 83 AD3d 449 [2011], lv denied 17 NY3d 800 [2011]; People v Royster, 40 AD3d 885 [2007], lv denied 9 NY3d 881 [2007]). The plea court also specifically informed defendant of the precise terms of the conditional discharge, and defendant's claim that the plea was invalid because he was not informed of its length is unavailing (see People v Kidd, 105 AD3d 1267 [2013], lv denied 21 NY3d 1005 [2013]; People v Kripanidhi, 59 Misc 3d 148[A], 2018 NY Slip Op 50789[U] [App Term, 1st Dept 2018], lv denied __ NY3d __ [2018]).
In any event, the only relief that defendant requests is dismissal of the information, rather than vacatur of the plea, and he expressly requests that this Court affirm his conviction if it does not grant a dismissal. Since we do not find that dismissal would be appropriate, we affirm on this basis as well (see People v Conceicao, 26 NY3d at 385 n 1; People v Teron, 139 AD3d 450 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT. 
I concur I concur I concur
Decision Date: October 15, 2018










